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                                                                                                               Robert L. Rattet 
                                                                                                                              Partner 
                R A T T E T                                                                                       Phone:  914.381.7400 
                                                                                                                     Fax:  914.381.7406 
                                                                                                                 rrattet@rattetlaw.com 

 
 
                                                                         July 2, 2018

Via ECF and Email

Honorable Robert D. Drain
United States Bankruptcy Courthouse
300 Quarropas Street
White Plains, New York 10601

          Re:       EMC Hotels and Resorts LLC f/k/a WY Time
                    Hotel, LLC f/k/a NYLO Nyack LLC and WYINC Development LLC f/k/a
                    WY Hospitality and Real Estate Group LLC f/k/a WY Management
                    Case No. 18-22932 (RDD)

Dear Honorable Judge:

       We are writing in response to the letter of Mr. Sarachek dated July 2, 2018. We have been
advised by Edgar Costa, the Debtor’s principal that he returned to New York from Portugal in the
early morning hours. Our office reiterates the remainder of the letter filed earlier this morning.

          If you have any questions, please do not hesitate to contact this office.

                                                                         Respectfully,

                                                                         RATTET PLLC

                                                                         /s/ Robert L. Rattet, Esq.
                                                                         ____________________________________
                                                                         Robert L. Rattet, Esq.




    RATTET PLLC  ∙  202 Mamaroneck Avenue  ∙  Suite 300  ∙  White Plains, New York 10601  ∙  Phone 914.381.7400  ∙  Fax 914.381.7406 
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Honorable Robert D. Drain 
July 2, 2018 
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cc:      (BY ELECTRONIC MAIL)

Mitchell Greene, Esq.
Robinson Brog Leinwand Greene Genovese &
Gluck, P.C.
Attorneys for HHM Nyack, LLC,

Paul Schwartzberg, Esq.
Office of the United States Trustee

Joseph E. Sarachek, Esq.
The Sarachek Law Firm
Attorneys for Petitioning Creditors and
John Krupa

Michael Lawrence Simes, Esq.
McGuireWoods LLP
Attorneys for Kerry Wellington

Mitchell Pollack, Esq.
Marvin M. Kelly, Esq.
Law Office of Mitchell Pollack
Attorneys for Howard Dean

Alex Spiro, Esq.
Quinn Emanuel Urquhart & Sullivan, LLP
Counsel for Edgar Costa

Daniel Mach, Esq.
Quinn Emanuel Urquhart & Sullivan, LLP
Counsel for Edgar Costa

Jared R. Clark
Phillips Nizer, LLP
Attorneys for Bank Hapoalim

Mr. Edgar Costa
EMC Hotels and Resorts LLC
RLR/
